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                    8
                    9                             UNITED STATES DISTRICT COURT
                   IO                         CENTRAL DISTRICT OF CALIFORNIA
                   11                                   EASTERN DIVISION
                   12 ^ CARTER BRYANT, an individual,                 CASE NO. CV 04-9049 SGL {RNBx)
                   I3                Plaintiff,                       Consolidated with
                                                                      Case No. CV 04-09059
                   14         vs.                                     Case No. CV OS-02727
                   15 MATTEL, INC ., a Delaware                       DISCOVERY MATTER
                      corporation,
                   16                                                 jTo Be Heard By Discovery Master
                                   Defendant.                           on. Edward Infante (Ret.)) Pursuant
                   17                                                 To The Court' s Order Of December
                                                                      6, 2006]
                   18 AND CONSOLIDATED ACTIONS
                                                                       PUBLIC REDACTED ] MATTEL,
                   19                                                  NC.'S OPPOSITION TO THE MGA
                                                                      DEFENDANTS' MOTION FOR
                   20                                                 PROTECTIVE ORDER FROM
                                                                      MATTEL INC.'S NOTICE OF
                   21                                                 DEPOSITION OF LUCY ARANT
                   22                                                 [Declaration of Jon D. Corey filed
                                                                      concurrently]
                   23
                                                                      Hearing Date:        TBA
                   24                                                 Time:                TBA
                                                                      Place:               Telephonic
                   25
                                                                      Phase 1
                   26                                                 ^5^scovert Cut-off:   January 28, 2008
                                                                      Pre-trial Conference: April 21, 2008
                   27                                                 Trial Date:           May 27, 2008
                   28
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                        MATTEL, INC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, 1NC.'S NOT. OF DEPO. Off' LUCY ARANT
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                         MATTEL, INC.'S OPP. TO MT'N. FOR PROT. ORD. FROM MATTEL, INC.'S NOT . OF DEPO . OF LUCY ARANT
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                    1                                  Preliminar Statement
                    2                In its motion, MGA relies on arguments that fly in the face of several
                    3 prior rulings of the Discovery Master and the District Court. As the Discovery
                    4 Master is aware, Mattel has asserted claims that center on the timing of Bratz's
                    5 creation. Lucy Arant is an outside MGA lawyer who has percipient , non-privileged
                    6 knowledge about key trademark and copyright applications and related
                    7 ^ communications that are squarely at issue in this case.
                    8                For example, Ms. Arant was the author of a fax to Paula Garcia, MGA's
                    9 ^ Bratz project manager, conf rming Ms. Garcia's statement that the first use date of
                   10 the names for Bratz and for the individual doll names was June 15, 2000. This June
                   11   15, 2000 date is months before MGA and Bryant claim Bryant introduced Bratz to
                   12 MGA and indeed before Bryant claims to have even heard of MGA. Ms. Arant also
                   13 unquestionably has knowledge about the other documents -- including an internal
                   14 docket sheet -- that provide confirmation of this first use date. Finding that these
                   15 very documents were non-privileged and relevant , the Discovery Master previously
                   16 compelled their production. Mattel is obviously entitled to ask their author
                   17 questions about them.
                   18                Furthermore, acting on MGA's behalf, Ms. Arant filed Bratz copyright
                   19 (registrations that stated Bratz was created in 2000 . That evidence is, too,
                   20 inconsistent with the chronology of Bratz's creation that MGA has espoused in this
                   21   litigation. In fact, MGA now claims that the dates reflected in the registrations were
                   22 wrong. Ms. Arant, therefore, is a percipient witness to the crucial -- and disputed --
                   23 facts set forth in her public filings on behalf of MGA and to MGA's prior,
                   24 inconsistent statements about the dates of Bratz's creation.
                   25                Federal Rule of Civil Procedure 26(c} and Ninth Circuit case law
                   26 require a particularized showing of good cause for a protective order to issue
                   27 preventing a deposition . MGA not only fails to meet that standard, but it fails to
                   28 even cite the relevant Rule. As purported "good cause" for its desired protective
072D9/24A96A2,3                                                    -^ -

                        MATTEL, INC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, INC.'S NOT. OF DEPO. OF LUCY ARANT
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                    1   order, MGA claims that Ms. Arant's deposition would be duplicative and as of yet
                    2 unasked questions could call for disclosure of privileged information. At the outset,
                    3 over MGA's objections, Judge Larson previously found that Mattel had good cause
                    4 to take the deposition of Lucy Arant. In doing so , Judge Larson necessarily rejected
                    5 the argument that Ms. Arant's deposition was duplicative of other discovery.
                    6 MGA's argument is also factually baseless. Ms. Arant is the author of the fax
                    7 ^ confirming Ms. Garcia's statement that the relevant Bratz names were first used in
                    8 June 2000. No other witness can testify about her knowledge and basis for this
                    9 document, and Ms. Garcia herself claims not to remember having made such
                   10 statements . As for the other topics Ms. Arant has personal knowledge on, Mattel as
                   11   of now has not obtained information concerning Ms. Arant's personal knowledge
                   12 (which neither MGA nor Ms. Arant deny she possesses). Her deposition is not
                   i3 duplicative of other discovery that Mattel has obtained.
                   i4               Equally groundless are MGA's privilege claims. With respect to Ms.
                   15 Arant's communications with Ms. Garcia that are squarely at issue, the Discovery
                   16 Master specifically ruled that they are not privileged. Further, Mattel seeks the facts
                   17 surrounding Ms. Arant's representations on behalf of MGA in public copyright
                   18 filings regarding certain dates of creation and publication for Bratz materials. Such
                   19 matters are not privileged, as the Discovery Master also has ruled, because there can
                   20 be no expectation that facts conveyed to be input into a public document will be
                   21 maintained as confidential. Mattel, therefore, does not seek privileged, conf dential
                  22 information. Nor, in any event, can MGA block a deposition based on blanket
                   23 assertions of privilege. As bath the Discovery Master and the District Court have
                   24 held, privilege must be asserted on aquestion-by-question basis.
                   25               MGA fails to make the required showing of good cause for a protective
                  26 order to prohibit Ms. Arant's deposition. The motion should be rejected, and Ms.
                  27 Arant should be ordered to appear for deposition without further delay.
                  28
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                        MATTEL, ING.'S OPF. TO MTN. FOR TROT. ORD. FROM MATTEL, INC.'S NOT. OF DEPO. OF LUCY ARANT
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                    1                                    Factual Back round
                    2                 Luc Arant Possesses Knowled e of Facts that Are Essential to This
                    3 ^i
                      Lit_a_tion. Ms. Ararat is "former outside counsel "I for MGA. Ms. Ararat prepared,
                    4 filed and prosecuted multiple trademark registration applications relating to Bratz on
                    5 MGA's behalf.2 These included the initial trademark applications that MGA
                    6 ',^ submitted for the "Bratz" mark and for the individual Bratz doll names, including
                    7 "Yasmin.r3 In the course of preparing those applications, Ms. Arant worked with
                    8 Paula Garcia, MGA's project manager for Bratz. In a fax to Ms. Garcia, Ms. Arant
                    9 confirmed that Ms. Garcia had "indicated that all four of the applications have a date
                   10 of^rst use of June I5, 2000."4 Other documents from Ms. Arant's then-law firm,
                   11   including a docket sheet, confirm this date as wells When Ms. Garcia was asked at
                   12 deposition whether she had stated that the first use of the Bratz name or the
                   13 individual doll names was June 15, 2000, Ms. Garcia claimed not to remember.
                   14 Ms. Ararat also prepared, filed and prosecuted copyright applications for Bratz
                   15 materials containing publication and creation dates of 2000 and February of 2001,
                   16 respectively.     MGA now contends those dates are wrong.g
                   17                 The f rst use, creation and publication information reflected in
                   18 documents prepared by Ms. Arant is of central importance in this case . Mattel's
                   19 claims include allegations that "Carter Bryant conceived, created and developed
                  20.
                  21
                  22       ' Motion, at 1:4.
                           a
                              Declaration of Jon Corey in Support of Mattel's Opposition MGA's Motion
                  23
                        For Protective Order From Mattel, Int.'s Notice of Deposition of Lucy Ararat, dated
                  24    March 27, 2008 {"Corey Dec."), Exh. 8.
                           3
                              Corey Dec., Exh. 13.
                  25       4
                              Id. (emphasis added).
                           s
                  26          Corey Dec., Exh. 14.
                           6
                              Corey Dec., Exh. 12.
                  27
                           ^ See Corey Dec., Exh. 8 [MGA Copyright Registrations, dated July 2001 ].
                           s
                  28          See Corey Dec., Exh.. 9 [Supplemental Copyright Registrations]
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                        MATTEL, INC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, INC.'S NOT. OF DEPO.OF LUCY ARANT
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                    1   Bratz designs while he was employed by Mattel as a doll designer,r9 that "using
                    2 Mattel resources, and while employed by Mattel, Bryant took steps to assist MGA to
                    3 produce dolls,il0 and that he "concealed his Bratz work from Mattel and wrongfully
                    4 sold Bratz to MGA while he was a Mattel employee ." ^ 1 Mattel alleges that "as a
                    S result of the efforts of Bryant and other Mattel employees working on Bratz (which
                    6 were done without Mattel's knowledge), the Bratz dolls had been designed and were
                    7 far along in development during the time that Bryant was employed by Mattel and
                    8 prior to the time that Bryant left Mattel on October 20, 2000."lz Based in part on
                    9 these allegations, Mattel claims ownership of Bratz works created by Bryant while
                   10 employed by Mattel, asserts that Bryant breached his duties of loyalty and f duciary
                   11   duties to Mattel, and claims that MGA aided and abetted Bryant in that regard.
                   12               Defendants dispute these allegations .l3 Specifically, defendants dispute
                   13 that Bryant and MGA had any relationship at all prior to September or possibly
                   14 August 2000. Bryant testified at his deposition that he f rst pitched the Bratz
                   15 concept to MGA when he met Paula Garcia in August 2000 -- while he was
                   16 employed by Matte1.14 He also testified that he had never even heard of MGA
                   17 before July 2000.15 According to Bryant and Larian, Bryant met Larian for the first
                   18
                   19      9
                               Mattel, Inc.'s Second Amended Answer in Case No. OS-2727 and
                  20    Counterclaims, ¶ 2 ("Second Amended Answer and Counterclaims"} is attached as
                        Exhibit 3 to the Declaration of B. Dylan Proctor dated August 23, 2007 ("Proctor
                  21    Dec."}.
                   22      10 Id. at Counterclaims ¶ 26.
                           1 ^ Yd. at Counterclaims ¶ 2.
                  23       12
                                Id. at Counterclaims ¶ 36.
                  24       ' 3 See Answer and Affirmative Defenses of MGA Entertainment, Inc., MGA
                        Entertainment (HK) Limited, and MGAE De Mexico S.R.K. De C.V. to Mattel,
                  25
                        Inc.'s Second Amended Answer and Counterclaims dated August 13, 2007 ("MGA's
                  26    Answer"), Proctor Dec., Exh. 4 at ^¶ 2, 26, 36, and at 22:18-19, 23:8, and 23:20-21.
                           14
                            Deposition of Carter Bryant, dated November 4-8, 2005 ("Bryant Depo."},
                   27
                      Proctor Dec., Exh. 5 at 9:25 - 10:12.
                         15
                   28       Bryant Depo., Proctor Dec., Exh. 5 at 5 :10-12.

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                        MATTEL, iNC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, INC.'S NOT. OF DEPO. OF LUCY ARANT
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                     1 time in September 2000,16 when Bryant presented the Bratz concept to him. ^ ^
                     2 Garcia has also testified about Bryant's September 2000 pitch meeting with Larian,
                     3 although -- contrary to Bryant's testimony -- she claims the September 2000 meeting
                     4 was the first time she met Bryant.'g Larian also testified that at the time of the
                     5 September meeting, Bryant had conceived of names for each of the Bratz doll
                     6 characters.19 However, according to Larian, one of the Bratz dolls, Yasmin, was
                     7 subsequently named after Larian's daughter .20 Thus, acco>ding to defendants, the
                     8 doll name "Yasmin" could not have been conceived pnior to September 2000. A first
                     9 use date of June 15, 2000 for "Yasmin" as reflected in Ms. Arant's documents
                    10 squarely refutes this account.
                    11                    Anna Rhee, a third-party vendor, also has testif ed that she was asked
                    12 by Bryant and paid by MGA to paint Bratz doll heads in June 2000 .2 Bryant has
                    13 testified that he did not ask Ms. Rhee to paint the faces of the Sratz dolls until
                    14 November 2000.ZZ Defendants have represented to the Court that Ms. Rhee's

                    15       "assertions regarding the timing of the creation of'Bratz"' -- which put the MGA
                    16       and Bryant relationship in June 2000 like the Arant documents do -- are "false."Z^
                    17                   Ms. Arant and_Her Counsel, Larry McFarland, Evade Service; Judge
                    1$ Larson Deems Them Pro erI Served. Mattel sought leave to take additional
                    19
                    20
                          ' 6 Bryant Depo., Proctor Dec., Exh. 5 at 88:21-89:19.
                    21
                          " Id. at 88:21-89:19, 104:1$-105:6; Deposition of Isaac Larian, dated July 18,
                    22 200 6 ("Larian Depo. "}, Proctor Dec., Exh 6 at 26:14-27:6, 66:15-67:1.
                              Deposition of Paula Garcia dated May 24 and 25, 2007 {"Garcia Depo."},
                    23
                       Proctor Dec., Exh. 7 at 263:2-24.
                    24    19 Larian Depo., Proctor Dec., Exh. 6 at 141:7 - 142:7.
                         20
                              Id.
                    25
                         Z' Deposition of Anna Rhee dated February 3, 2005 ("ghee Depo."), Proctor
                    26 Dec., Exh. 8 at 107:4 - 108:12, 197:6-197:25, 199:$-199:16.
                         Zz
                            Bryant Depo., Proctor Dec., Exh. 5 at 114:1 - 115:25.
                    27   z3
                            MGA's Opposition to Mattel's Motion For Leave to File Amended
                    28 Complaint, dated December 21, 2006, Proctor Dec., Exh. 10 at 18:25 - 19:3.

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                                                                        - -
                             MATTEL, INC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, INC.'S NOT. OF REPO. OF LUCY ARANT
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                    1   discovery, including Ms. Arant's deposition. In January 200$, finding that Mattel
                    2 had established good cause therefor, Judge Larson granted Mattel leave to take Ms.
                    3 Arant's deposition , along with other of MGA's former counse1.24
                    4               After Judge Larson granted Mattel leave, Ms. Ararat evaded service of
                    5 her deposition subpoena by Mattel on multiple occasions.25 MGA states that Mattel
                    6 "never served Ms. Ararat with a deposition subpoena before the January 28
                    7 discovery cut-off date for Phase 1.r26 Mattel tried to serve Ararat 13 times. Mattel
                    8 attempted to serve Ararat at her home and her office, weekdays and weekends,
                    9 morning, afternoon, and evening. At her office, her receptionist claimed she was
                   10 not present. There is no dispute that the process servers visited the correct residence
                   11   address. Nevertheless, no one ever answered her door. The process server even
                   12 waited at her residence, to no avail.'
                   13               MGA conspicuously omits this information from its motion. As MGA
                   14 does concede, however, and as discussed in the McFarland Opposition , because Mr.
                   15 McFarland and his clients evaded service, on February 4, 200$, Judge Larson issued
                   16 an Order to Show Cause Why Larry McFarland and each of his clients -- Sarah
                   17 Halpern, Lucy Ararat, and Peter Marlow -- should not be ordered to appear for
                   18 deposition.
                   19
                  20
                           za
                             Minute Order, January 7, 2008, p. 3, attached to the Corey Dec., Exh. 1.
                  21 Interestingly,
                                    MGA cherry-picked the depositions of its former counsel whom it
                  22 would "permit" Mattel to depose, such as Mitchell Kamarck. MGA also produced
                     its present in-house counsel to discuss its copyright applications and registrations
                  23
                     (albeit to no avail). MGA, however, provides no explanation as to why certain of its
                  24 former counsel, such as Ms. Ararat, should have special immunity from deposition
                     by virtue of her status as former counsel.
                  25     as
                             This evasion is discussed in Mattel's concurrently filed Opposition to MGA's
                  26 Motion to Quash Larry McFarland's Deposition Subpoena (the "McFarland
                     Opposition"), which is hereby incorporated by reference.
                  27     zb
                             Motion, 1:22-23.
                  28     27 Declaration of Miguel Leyva, ¶¶ 5-9, attached to the Corey Dec., Exh. 7.
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                        MATTEL, INC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, INC.'S NOT. OF DEPO.OF LUCY ARANT
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                     1                  [T]he Court is concerned with the allegations by Mattel in
                     2                 its ex parte application regarding certain actions of Larry
                     3                 McFarland, who represents certain third-party witnesses.
                     4'                Mattel submits that Mr. McFarland has been deliberately
                     Si.               evading service of a notice of deposition on him and his
                     6                 clients -- serious allegations when made by an officer of
                     7                 the Court against another officer of the Court.
                     8                 Accordingly, Mr. McFarland is ORDERED TO SHOW
                     9                 CAUSE why he and his clients should not be ordered to
                    10                 appear for deposition.Zg
                    11     At the hearing on the Order to Show Cause, Judge Larson stated to Mr. McFarland:
                    12                 There's no need to order. 7'm simply going to direct that
                    13                 you will receive service on your own behalf and your three
                    14                 clients. And then you are ordered leave to bring whatever
                    15                 motions you believe are appropriate to quash those
                    16                 subpoenas . But they are going to be deemed served as of
                    17                 today.29
                    18 ^ Judge Larson subsequently ordered that:
                    19                 As set forth on the record, the Court orders that counsel
                    2a                 Larry McFarland be deemed timely served with a notice
                    21                 for his deposition and that he serve notices of deposition
                    22                 on his clients, Lucy Ararat, Sarah Halpern, and Peter
                    23                 Marlow. Neither Mr. McFarland nor his clients may
                    24                 object to the taking of their depositions on the basis of
                    25
                    26    28 Declaration of Robert Herrington in support of MGA Defendants' Motion for
                       Protective Order from Mattel, Inc.'s Notice of Deposition of Lucy Arant, dated
                    27
                       March 17, 2008 ("Herrington Dec."}, February 4, 2008 Minute Order, Exh. 2, p. 36.
                          2g
                    28       Harrington Dec., Exh. 4, p.58 (emphasis added}.
0720912449fi42. ]
                                                                      -7-
                           MATTEL, 1NC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, INC.'S NOT. OF DEPO. OF LUCY ARANT
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                   1                    notice, service, or timeliness , but may assert any other
                   2                    objections they may have thereto and may seek any
                   3                    appropriate protective orders from the Discovery Master.
                   4                    Subject to these conditions , the Court DISCHARGES the
                   5                    order to show cause.3o
                   6 To date, Ms . Arant has not filed objections to her deposition subpoena.
                   7                    The Parties' Meet and Confer Efforts. On March 11, 2008, MGA and
                   8 Mattel met and conferred concerning MGA's objections to the deposition subpoenas
                   9 ',^ of Lucy Arant and Mr. McFarland . With respect to Ms. Arant , MGA stated that it
                  10 would move for a protective order on the grounds that it believes Ms. Arant's
                  11       deposition would be cumulative and duplicative of previously taken depositions and
                  12 seeks privileged information. Mattel disagreed, stating that there will be questions
                  13 asked of Ms. Arant that were not previously asked of others and that will not call for
                  14 privileged information . MGA insisted upon opposing Ms. Arant's deposition
                  15 subpoena.3 ^
                  16                                              Argument
                  17 I.          MATTEL IS ENTITLED TO TAKE MS. AR.ANT'S DEPOSITION
                  18                    Mattel sought, and the Court specifically granted, leave to take Ms.
                  19 Arant's deposition. In granting Mattel's Motion for Leave to Take Additional
                  20 ^ Discovery, the Court held:
                  21
                  22
                               3o
                                  See Exhibit 5 to the Herrington Dec.
                  23           3i
                                  The parties also agreed to a particular brief ng schedule for MGA's motions,
                  24       with MGA's moving papers due on March 17, 2008, Mattel's Oppositions thereto
                           due on March 25, 2008, and MGA's replies due March 31, 2008, for the hearing set
                  25
                           for April 4, 2008 in front of Judge Infante . See a-mail message from Robert
                  26       Herrington to Jon Corey, dated March 12, 2008, attached to the Corey Dec., Exh. 2.
                           The parties subsequently agreed to an extension of time, with Mattel's Opposition
                  27
                           brief due on March 27th. Id.
                  28
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                           MATTEL, TNC.'S OPP. TO MTN . FOR PROT. ORD. FROM MATTEL, iNC.'S NOT . OF DEPO . OF LUCY ARANT
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                   1                   Considering [the standard set forth in Rule 26(b)(2}(C}(i)-
                   2                   {iii}] the Court concludes that Mattel has shown good
                   3                   cause to grant additional discovery given the complexity
                   4                   of this case, the number of parties, recent developments
                   5                   related to the substitution of counsel, the concerns
                   6^,                 regarding retention and spoliation of evidence, and the
                   7                   delay in receiving paper discovery caused by numerous
                   8                   discovery disputes and aCourt-imposed stay requested by
                   9                   MGA upon substitution of counsel. Specif tally, the
                  10                   Court grants Mattel's request to take the individual
                  11                   depositions relating to the Bratz claims (set forth in the
                  12                   moving papers at 9-11) . , .3z
                  13 Ms. Arant was listed on the referenced pages.
                  14                   Accordingly, Mattel is entitled to take Ms. Arant's deposition pursuant
                  15 J to Rule 30(a).
                  16 I ^^.        NO GOOD CAUSE EXXSTS TO GRANT THE PROTECTYVE ORDER
                  17              MGA SEEKS
                  18              A.   MGA Does Not Make the Showin Re uired for A Protective
                  19                   Order
                  20                   MGA bears the burden of demonstrating that good cause exists for the
                  21 protective order it seeks.33 MGA omits, however, the requirements of the Federal
                  22 Rules of Civil Procedure for a protective order prohibiting a deposition. Rule
                  23 26(c}(1) provides in pertinent part:
                  2^
                  25
                             32
                  26       Minute Order, January 7, 2008, p. 3, attached to the Corey Dec., Exh. 1.
                     Pages 9-11 identified Ms. Arant, along with other former MGA counsel. See
                  27
                     Herrington Dec., Exh. 1, p. 18.
                  28       Motion, 2:12-13.
0720412449642,1        I
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                           MATTEL, INC.'s OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, INC.'S NOT. OF DEPO.OF LUCY ARANT
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                    1                    A party or any person from whom discovery is sought may
                    2                    move for a protective order in the court where the action is
                    3                    pending--or as an alternative on matters relating to a
                    4                    deposition, in the court for the district where the
                    5                    deposition will be taken. The motion must include a
                    b                    certification that the movant has in good faith conferred or
                    7                    attempted to confer with other affected parties in an effort
                                         to resolve the dispute without court action. The court may,
                    9                    for good cause, issue an order to protect a party or person
                   10                    from annoyance, embarrassment, oppression, or undue
                   11                    burden or expense, including one or more of the following
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                   13 Fed. R. Civ. P. 2b(c) {emphasis added). To obtain such an order, a "strong
                   14 showing" is required: "'All motions under these subparagraphs of the rule must be
                   15 supported by "good cause" and a strong showing is required before a party will be
                   16 denied entirely the right to take a deposition."' Blankenship v. Hearst Corgi., 519
                   17 F.2d 418, 429 (9th Cir. 1975).34 Further , "[f]or good cause to exist , the party
                   18 seeking protection bears the burden of showing specif c prejudice or harm will result
                   19 if no protective order is granted." Cadent Ltd, v. 3M Unitek Co ., 232 F.R.D. 625,
                   20 b29 {C.D. Cal. 2005) {denying plaintiff s request for a protective order regarding the
                   21       location of depositions and holding that a "general presumption" regarding hardship
                   22 is insuff cient to show "good cause." Id. at 630.); see also Schwarzer, Tashima &
                   23
                               34
                   24              In Blankenship , the Ninth Circuit reversed the district court's order granting a
                            protective order prohibiting plaintiff from taking the deposition of defendant's
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                            publisher which defendant sought because it asserted that what the publisher "had to
                   26       offer would be repetitious with what plaintiff had learned from other sources." Id.
                            The court held that " [ u]nder the liberal discovery principles of the Federal Rules
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                            defendants [ are] required to carry a heavy burden of showing why discovery was
                   28       denied. They did not meet this burden." Id.
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                            MATTEL, 1NC.'S OPP . TO MTN. FOR PROT. ORD. FRO11M MATTEL, n^1C.'S NOT. OF DEPO.OF LUCY ARANT
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                       Wagstaffe, Fed. Prac. Guide: Civ. Proc. Before Trial, § I I:1165 (Rutter's Group
                   2 2007) (" The proponent of the protective order must provide specific facts
                   3 demonstrating good cause for the relief sought. Merely describing material as
                   4 ^'conf dential,' 'private,' or'proprietary' does not meet Rule 26{c}'s 'good cause'
                   5 ^ standard.").
                   6                  MGA asserts that Ms. Arant's deposition should not proceed because it
                   7 would be "cumulative and wasteful." 3S MGA provides no authority supporting its
                   8 position that protective orders may issue before any question has been asked solely
                   9 because one party speculates that the deposition of a non-party would be cumulative
                  10. or duplicative.36 Nor has MGA shown that any specif c prejudice or harm would
                  11 result in the circumstances presented here if Ms. Arant is deposed . Further, MGA
                  12 does not explain how a protective order would meet the requirements of Rule 26 and
                  13 protect MGA or Ms. Arant " from annoyance , embarrassment, oppression , or undue
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                  1S
                           3s
                  16          Motion, 4:8, 9-10, 5:12.
                           36
                              See Hanks v. Korea Iron and Steel,,,Co., Ltd., 993 F. Supp. 1204, 1205
                  17   (S.D.I11. 1998) (granting motion to quash and for protective order for depositions of
                  18   defendant's personnel because it would be duplicative and unhelpful to issues before
                       the court); Marco Island Partners v. Oak Dev. Co ., 117 F.R.D. 4I $, 419 (N.D.III.
                  19   1987} (granting motion to quash); Walker v. United Parcel Services, 87 F.R.D. 360,
                  2a   361-62 (E.D.Pa 1980) (denying request for plaintiff to depose defendants' attorney
                       in the present matter in light of the procedural posture of the case where a motion
                  21
                       for preliminary relief was "pending for nearly three years and the testimony "sought
                  22   only to ...buttress the testimony of plaintiffs' other witnesses".}; Klayman v.
                       Freedom's Watch, Inc., 2007 WL 4414803, *3-4 (S.D.FIa. Dec. 14, 2007) (granting
                  23
                       protective order prohibiting deposition because plaintiff failed to show that the
                  24   deposition of defendants' attorneys involved in the litigation was either "necessary
                       or proper" and plaintiff failed to overcome presumptions of Florida federal case law
                  25
                       against attorneys' depositions}; Trunk v. Cit of San Die o, 2007 WL 2701356
                  26   (S.D.CaI. Sep. 13, 2007} (granting motion to quash and for protective order because
                       the deposition sought by plaintiff invaded the privilege provided by the
                  27
                       Constitutional Speech or Debate Clause and sought historical information available
                  28   through other sources).
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                       MATTEL, INC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, INC.'S NOT. OF DEPO. OF LCJCY ARANT
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                    1    burden or expense." Mattel does not seek to annoy, embarrass, oppress or add
                    2 ^ ^ undue burden or expense to MGA or Ms. Arant.
                    3                 Contrary to MGA's assertion, Mattel also does not seek Ms. Arant's
                    4 testimony to "simply establish credibility or buttress the testimony of other
                    5 witnesses."37 Mattel seeks Ms. Arant's knowledge about key dates for Bratz and
                    6 MGA's prior, inconsistent statements to her about them. This includes, most
                    7 critically, Ms. Arant's documents reflecting that MGA had informed her the f rst use
                    8    date of the Bratz name and the individual doll names was June 15, 2000 -- well
                    9 before MGA and Bryant claim to have worked together and indeed to have even
                   10 known one another. Mattel additionally seeks Ms. Arant's knowledge about the
                   11    information that she provided, on MGA's behalf, to the Copyright Office about the
                   12 creation of Bratz -- information that is of utmost factual importance to this case.

                   13    And, as explained below, Ms. Arant's knowledge is unique in key respects, which
                   14 more than amply justifies the taking of her deposition.
                   I5          S.     MGA Has Not Previously. Provided the Information Mattel Seeks
                   16.                from Ms. Arant
                   17                 MGA's unproven argument that Mattel has already obtained Ms.
                   1S Arant's personal knowledge is also wrong. MGA asserts that the depositions of

                   19 Kerri Brode, Nana Ashong and Samir Khare provided the information Mattel seeks.
                   20 But none of the prior deponents named by MGA was a party to the key f rst use
                   21    documents or their surrounding communications. Ms. Arant in contrast was
                   22 personally involved and, indeed, she was the author of the fax confirming Ms.

                   23    Garcia's statement that the first use date for the relevant Bratz names was June 15,
                   24 2000. Ms. Garcia was the recipient, but Ms. Garcia denied recalling that she had
                   25 told anyone that the first use date was June 15, 2000. There is nothing that is even
                   2b
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                   2S       37 Motion, at 4:2-7.
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                         MATTEL, INC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, INC.'S NOT. OF ^DEPO. OF LUCY ARANT
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                  1       arguably cumulative about Ms. Arant's percipient -- and plainly unique --
                  2 knowledge about these matters.
                  3                    Nor did the prior depositions provide important information about the
                  4 facts of Bratz's creation and publication that were reflected in the relevant copyright
                  5 registrations -- and which MGA has put squarely at issue by now deeming them to
                  6 be "inaccurate." For example, Mr. Khare could not even explain what the
                  7 publication dates on MGA's copyright registrations was based on:
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                  9
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                 12'
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                                      -                        38
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                 16 In response to questions about what he had done to investigate the basis for the date
                 17 that MGA now disputes, Mr. Khare conspicuously failed to consult with Ms. Arant
                 18 for his testimony.39
                 19                   Ms. Brode, who appeared as a percipient witness, fiestif ed that she had
                 20 no knowledge of dates of creation as they appear on MGA's copyright applications:
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                            3g
                          8/20/2007 Deposition Transcript of Samir Khare, at 254:9-256:24, attached to
                 27
                    the Corey Dec., Exh. 5.
                       39
                 28       Id.
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                          MATTEL, INC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, iNG.'s NOT. OF DEPO. OF LUCY ARANT
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                       MATTEL, INC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, I]VC.`S NOT. OF DEPO. OF LUCY ARANT I
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                   1
                   2                As for Ms. Ashong, there is no evidence that she participated in the first
                   3 use communications discussed above that go to a central issue in this litigation. Nor
                   4 did she provide any testimony about the copyright registrations that Ms. Arant
                   5 prepared and then filed and prosecuted in the Copyright Office.
                   6                MGA's assertion that MGA employees, "people Mattel has already
                   7 ^ deposed," are "the best source of information as to the creation of Bratz" misses the
                       mark as we11.41 It is scarcely a proper basis to block a deposition on the grounds that
                   9 a party such as MGA unilaterally declares itself content with its own story in
                  10 litigation. Discovery seeks to uncover the facts, and MGA's conclusory
                  11 pronouncements are no substitute and surely not a basis to deny the testimony of a
                  12 witness who has direct, personal knowledge of highly critical facts. Further, as just
                  13 shown, the witnesses who MGA cites did not in fact provide the sought-after
                  14 information about the applications and the associated communications that Ms.
                  15 Arant was personally involved in.42 Indeed, in finding that Mattel had met the
                  16 standard set forth in Rule 26(b){2}(C}(i)-(iii} when he granted Mattel leave to take
                  17 Ms. Arant's deposition in the first place, Judge Larson necessarily found that her
                  18 deposition would not be unnecessarily cumulative of other discovery. MGA's
                  19 arguments otherwise should be rejected.
                  20
                  21
                  22
                  23      40
                              8/15/2007 Deposition Transcript of Kerri Brode, 320:18-323:5, attached to
                  24   the Corey Dec., Exh. 4. The portions of Ms. Brode's transcript cited by MGA,
                       discuss trademark searches she conducted on her own and at the direction of Farhad
                  25
                       or Isaac Larian.
                           41
                  26          Motion, at 5:10-11
                           4z
                              As the Blankenship court found, even if testimony were repetitious of other
                  27
                       deponents -- and here it is not -- a proposed deposition should go forward if the
                  28   deponent might have information that others did not. Blankenship, 519 F.2d at 429.
D7209/2449642.1                                                   -1 ^-

                       MATTEL,, 1NC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, ING.'S NOT. OF DEPO. OF LUCY ARANT
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                    1         C.     There is No Basis to Issu,e_A,Protective Order On Privilege
                    2                Grounds
                    3                MGA speculates that Mattel seeks only privileged information from
                    4 Ms. Arant.43 The argument is factually and legally groundless and indeed it and
                    5 ^ indeed is flatly contrary to the Court's prior rulings.
                    6                MGA provides no particularized example of the "privileged"
                    7 information it believes Mattel seeks. Nor can it. Mattel seeks testimony
                    8 ^ concerning, for example, Ms. Arant's first use documents and communications that
                    9 the Discovery Master already held were not privileged.44 Likewise, Mattel seeks
                   10 testimony on the factual information reflected in copyright registrations that Ms.
                   lI   Arant filed with and obtained from the Copyright Off ce. As the Discovery Master
                   12 has also held, there can be no good faith expectation that information provided far
                   13 public disclosure in such circumstances would be maintained confidential and it
                   14 therefore cannot be privileged.4S And Mattel seeks testimony about Ms. Arant
                   15 communications on MGA's behalf, with the Trademark Office and Copyright
                   16 Office. It is axiomatic that such communications with third parties cannot be
                   17 privileged.
                   18                Further, even assuming (contrary to fact) that MGA has legitimate basis
                   I9 to assert privilege or work product to questions while at the deposition, that is no
                   20 reason to preclude all questioning. Instead, such issues can and should be
                   21   considered on aquestion-by-question basis, with MGA asserting instructions during
                   22 the course of the deposition according to the usual rule. This, too, is what both the
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                           43 Motion, at 4:19-20.
                   27      44
                              Corey Dec., Exh. 10 at 7:25-11:17.
                           45 Corey Dec., Exh. 10 at 7:25-11:17.
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                        MATTEL, tNC.'S OPP. TO MTN. FOR PROT. ORD. FROM MATTEL, INC.'S NOT. OF DEPO. OF LUCY ARANT
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                   1 Discovery Master and the District Court have previously ruled in rejecting an almost
                   2 identical argument by MGA months ago.46
                   3
                   4                 For the foregoing reasons, Mattel respectfully requests that the MGA
                   5 Defendants ' motion for a protective order prohibiting the deposition of Lucy Arant
                   b be denied in its entirety.
                   7
                   S DATED : March 27, 2008                   QUZNN EMANUEL URQUHART OLIVER &
                                                              HHEEDGES, LLP
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                  10
                                                               By1S1 Jan D. Corey            , ,,,_
                  11                                             Jon D. Corey
                                                                   Attorneys for Mattel, Inc.
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                  28           Corey Dec., Exh. 10, 11.
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                        MATTEL, INC.'S OPP . TO MTN. FOR PROT . ORD. I±ROM MATTEL , INC.'S NOT. OF DEPO . OF LUCY ARANT
